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             1    Marc S. Schechter, Bar No. 116190
                  Corey F. Schechter, Bar No. 279964
             2    BUTTERFIELD SCHECHTER LLP
                  10021 Willow Creek Road, Suite 200
             3    San Diego, California 92131-1603
                  (858)444-2300/FAX (858)444-2345
             4    mschechter@bsllp.com
                  cschechter@bsllp.com
             5

             6    Attorneys for Defendants Peter L. Huntting &
                  Co., Inc. and Estate of Peter L. Huntting
             7

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           10                        UNITED STATES DISTRICT COURT
           11                     SOUTHERN DISTRICT OF CALIFORNIA
           12     CHEAP EASY ONLINE TRAFFIC             Ninth Circuit Case No.: 19-55653
                  SCHOOL; BORNA MOZAFARI                District Case No.: 16-CV-2644-WQH
           13     AND MARLA KELLER AS                   MSB
                  TRUSTEES FOR CHEAP EASY
           14     ON-LINE TRAFFIC SCHOOL                Assigned to: William Q. Hayes
                  PENSION PLAN; BORNA                   Magistrate Judge: Michael S. Berg
           15     MOZAFARI AS TRUSTEE FOR
                  THE CHEAP EASY ON-LINE
           16     PROFIT SHARING PLAN; EASY             AMENDED NOTICE OF APPEAL BY
                  ON LINE TRAFFIC SCHOOL.COM,           DEFENDANTS PETER L. HUNTTING
           17     INC.; MARLA KELLER AS                 & CO., INC. AND ESTATE OF PETER
                  TRUSTEE FOR THE MARLA                 L. HUNTTING’S FROM ORDER
           18     KELLER PENSION PLAN AND               DENYING ATTORNEY’S FEES AND
                  MARLA KELLER 401(k) PLAN,             COSTS
           19
                              Plaintiffs,
           20                                           Complaint Filed: October 24, 2016
                  v.
           21
                  PETER L. HUNTTING & CO., INC.;
           22     SMI PENSIONS; SHEFFLER
                  CONSULTING ACTUARIES INC.;
           23     ESTATE OF PETER L. HUNTTING;
                  MIKE EDWARDS; WILLIAM
           24     SHEFFLER; ECONOMIC GROUP
                  PENSION SERVICES GROUP,
           25     INC.; and DOES 1 to 100, inclusive,
           26                 Defendants.
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                   AMENDED NOTICE OF APPEAL BY HUNTTING DEFENDANTS   Case No.: 3:16-cv-2644-WQH (MSB)
                   FROM ORDER DENYING ATTORNEY’S FEES AND COSTS                  App. Case No.: 19-55653
                  ca
       Case 3:16-cv-02644-WQH-MSB Document 126 Filed 08/06/19 PageID.3276 Page 2 of 5



             1          On June 5, 2019, Defendants Peter L. Huntting & Co., Inc. and Estate of
             2    Peter L. Huntting (“Defendants”) filed a Motion for Partial Reconsideration of
             3    Order Denying Attorneys’ Fees [Doc. 113]. On June 6, 2019, Defendants filed
             4    their prior Notice of Appeal [Doc. 115] with the District Court of its May 9, 2019
             5    Order [Doc. 111].
             6          Subsequently on August 2, 2019, the District Court issued an Order
             7    Denying Defendants’ Motion for Partial Reconsideration of Order Attorneys’
             8    Fees [Doc. 125].
             9          Pursuant to Rule 4 of the Federal Rules of Appellate Procedure,
           10     Defendants-Appellants PETER L. HUNTTING & CO., INC. and the ESTATE
           11     OF PETER L. HUNTTING hereby provide notice of appeal of the order denying
           12     defendants’ motion for attorney’s fees and costs entered May 9, 2019, by the
           13     United States District Court for the Southern District of California [Doc. 111].
           14     DATED: August 6, 2019               BUTTERFIELD SCHECHTER LLP
           15

           16                                         By: /s/ Marc S. Schechter
                                                          MARC S. SCHECHTER
           17                                             COREY F. SCHECHTER
                                                          Attorneys for Defendants
           18                                             Peter L. Huntting & Co., Inc., and Estate
                                                          of Peter L. Huntting
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                  AMENDED NOTICE OF APPEAL BY HUNTTING                  Case No.: 3:16-cv-2644-WQH (MSB)
                  DEFENDANTS FROM ORDER DENYING ATTORNEY’S FEES                     App. Case No.: 19-55653
      Case 3:16-cv-02644-WQH-MSB Document 126 Filed 08/06/19 PageID.3277 Page 3 of 5



            1                                        PROOF OF SERVICE
            2             I declare that:
            3           I am and was at the time of service of the papers herein, over the age of
                  eighteen (18) years and am not a party to the action. I am employed in the
            4     County of San Diego, California, and my business address is 10021 Willow
                  Creek Road, Suite 200, San Diego, California 92131-1603.
            5
                          On August 6, 2019, I caused to be served the following documents:
            6
                          AMENDED NOTICE OF APPEAL BY DEFENDANTS PETER L.
            7             HUNTTING & CO., INC. AND ESTATE OF PETER L.
                          HUNTTING’S FROM ORDER DENYING ATTORNEY’S FEES
            8             AND COSTS
            9            BY FIRST-CLASS MAIL: I caused such envelopes to be deposited in
                          the United States mail, at San Diego, California, with postage thereon
          10              fully prepaid, individually, addressed to the parties as indicated. I am
                          readily familiar with the firm’s practice of collection and processing
          11              correspondence in mailing. It is deposited with the United States postal
                          service each day and that practice was followed in the ordinary course of
          12              business for the service herein attested to. (Fed. R. Civ. P. 5(b)(2)(C).)
          13             BY FACSIMILE TRANSMISSION: I caused a true copy of the
                          foregoing document(s) to be transmitted (by facsimile #) to each of the
          14              parties mentioned above at the facsimile machine and as last given by that
                          person on any document which he or she has filed in this action and
          15              served upon this office.
          16             BY ELECTRONIC FILING SERVICE: Complying with Fed. R.Civ.
                          P. 5(b)(2)(E), my electronic business address is mschechter@bsllp.com
          17              and I caused such document(s) to be electronically served for the above-
                          entitled case to those parties on the Service List below. The file
          18              transmission was reported complete and a copy will be maintained with
                          the original document(s) in our office.
          19
                         BY PERSONAL SERVICE: I served the person(s) listed below by
          20              leaving the documents, in an envelop or package clearly labeled to
                          identify the person being served, to be personally served via on the
          21              parties listed on the service list below at their designated business
                          address.
          22
                                    By personally delivering the copies;
          23
                                    By leaving the copies at the attorney’s office;
          24
                                      With a receptionist, or with a person having charge thereof; or
          25
                                      In a conspicuous place in the office between the hours of
          26                           ______ in the morning and five in the afternoon;
          27
          28
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                  Proof of Service                                             Case No.: 3:16-cv-2644-WQH (MSB)
                                                                                           App. Case No.: 19-55653
      Case 3:16-cv-02644-WQH-MSB Document 126 Filed 08/06/19 PageID.3278 Page 4 of 5



            1                       By leaving the copies at the individual’s residence, a conspicuous
                                     place, between the hours of eight in the morning, and six in the
            2                        afternoon.
            3             SEE ATTACHED SERVICE LIST
            4           I am readily familiar with the firm's practice of collection and processing
                  correspondence for mailing. Under that practice, it would be deposited with the
            5     United States Postal Service on that same day with postage thereon fully prepaid
                  at San Diego, California, in the ordinary course of business. I am aware that on
            6     motion of the party served, service is presumed invalid if postal cancellation date
                  or postage meter date is more than one day after the date of deposit for mailing in
            7     affidavit.
            8             Executed on August 6, 2019, at San Diego, California.
            9

          10                                                       /S/ Marc S. Schechter
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                  Proof of Service                                            Case No.: 3:16-cv-2644-WQH (MSB)
                                                                                          App. Case No.: 19-55653
      Case 3:16-cv-02644-WQH-MSB Document 126 Filed 08/06/19 PageID.3279 Page 5 of 5



            1                                     SERVICE LIST
            2                                          8109.02
            3      Cheap Easy Online Traffic School, et al. v. Peter L. Huntting & Co., Inc., et al.
            4             Lincoln Horton                        Attorneys for Plaintiffs
                          Horton Village Law Group,
            5             APC
                          Suite 5-24
            6             16236 San Dieguito Road
                          Rancho Santa Fe, CA 92067
            7             Telephone: (858) 832-8685
                          Facsimile: (858) 832-8704
            8             lhorton@hortonvillagelaw.com
            9
                          Thomas M. Monson, Esq.                Attorneys for Defendants SMI
          10              Miller, Monson, Peshel, Polacek       Pensions; Sheffler Consulting
                          & Hoshaw                              Actuaries Inc.; and William
          11              Suite 700                             Sheffler
                          501 West Broadway
          12              San Diego, CA 92101
                          Telephone: (619) 239-7777
          13              Facsimile: (619) 696-6163
                          tommonson@erisa-law.com
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                  Proof of Service                                          Case No.: 3:16-cv-2644-WQH (MSB)
                                                                                        App. Case No.: 19-55653
